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PTS,.Ht (4/2016))


                         UNITED STATES PRETRIAL SERVICES OFFICE
                                   PASSPORT RECEIPT
                                                                                FILED INTHI:
                                                                        UHiTEO STAl'ES D,S1T,,~T cornn
RE:                     Wilson, Liane a.k.a. "Liana Shanti"                 OISTR!CT OF HA'NAII

Year of Birth:          1971                                                    NOV 2} 2Di9
                                                                        at l o'c!:>:k a:id&m1n          M
Place of Birth:         New York                                          -SUE BEITIA, CLER,
                                                                                                     "I
Case Number:            1: 19CROO10SSOM-01

COURT ORDER entered on November 15, 2019
    The above. .named defendant surrendered lect one)
 ml United States Passport
 •  Foreign Passport (Countty Enter C\1untry)

        Passport Number 589713154 to the custody of the U.S. Pretrial Services Office
        on November 20, 2019.

 D Other
                    -------------- Enter number to the custc>ayofthe U.S.
        Pretrial Services Office on Enter Date.




Recorded la the Passport Log (Sign and Date)
Logged IN                                                Logged OUT
                                                                                                   FILED IN THE
                                                                                          UNITED STATES DISTRICT COURT
                                                                                               DISTRICT OF HAWAII
Signature and Date                                       Signature and Date                Dec 17, 2021, 11:48 am
                                                                                          Michelle Rynne, Clerk of Court

                       receipt of Passport Number Enter number or Other Enter nwnber
previously surrendered to the U.S. Pretrial Services Office pursuant to a prior Court Order.



Date Returned                       -     [J
Purpose Returned
  •   Defendant not convicted                           D Other
      Defendant sentenced
  •       Mailed via Certified Mail
